Case 1:17-cv-01194-JDW Document 316-3 Filed 02/18/22 Page 1 of 21 PageID #: 13433




                       Exhibit 3
Case 1:17-cv-01194-JDW Document 316-3 Filed 02/18/22 Page 2 of 21 PageID #: 13434




                                       EXHIBIT 3
                        MICROCHIP’S STATEMENT OF ISSUES OF LAW

            Plaintiff Microchip identifies the following issues of law which remain to be litigated,

  with a citation to authorities relied upon. This statement is based on the arguments Microchip

  expects to make as well as its understanding of the arguments that Defendant Aptiv is likely

  to make. If Aptiv seeks to introduce different legal arguments, Microchip reserves the right to

  supplement this statement. This statement is based on the current status of the case and the

  Court’s rulings to date. Microchip reserves the right to modify or supplement this statement

  in response to subsequent rulings by the Court. Should the Court determine that any of these

  issues are issues of fact (and not law), Microchip incorporates such issues by reference into

  its Statement of Issues of Fact That Remain to Be Litigated (Exhibit 1). To the extent that

  Microchip’s Statement of Issues of Fact That Remain to Be Litigated contains issues that the

  Court deems to be issues of law, those issues are incorporated herein by reference. The

  authority cited herein is not exhaustive; any party may rely on authority not cited in this

  statement.

  I.        STATEMENT OF ISSUES OF LAW

       A.        Infringement

            i. Issues of Law

            1.      Whether Aptiv has infringed and/or is infringing, directly or indirectly, Claims

  2, 6, 10, 16–17, and/or 22–25 of the ’243 Patent.

            2.      Whether Aptiv has infringed and/or is infringing, directly or indirectly, Claim

  6 of the ’708 Patent.




                                                    1
Case 1:17-cv-01194-JDW Document 316-3 Filed 02/18/22 Page 3 of 21 PageID #: 13435




         ii. Relevant Authority

         Microchip bears the burden of proving patent infringement by a preponderance of the

  evidence. Advanced Cardiovascular Sys., Inc. v, Scimed Life Sys., Inc., 261 F.3d 1329, 1336 (Fed.

  Cir. 2001). Microchip must show that it is more likely than not that Aptiv infringes the asserted

  claims. Warner-Lambert Co. v. Teva Pharm., USA, Inc., 418 F.3d 1326, 1341 (Fed. Cir. 2005).

  The infringement analysis involves two steps. Markman v. Westview Instruments, Inc., 52 F.3d

  967, 976 (Fed. Cir. 1995) (en banc), aff’d, 517 U.S. 370 (1996). The first step is to define the

  disputed the terms of the patent consistent with how those terms would be understood by a person

  of ordinary skill in the art. Id.; Phillips v. AWH Corp., 415 F.3d 1303, 1313 (Fed. Cir. 2005) (en

  banc). This Court construed the disputed claim terms in its June 17, 2019 Order. See D.I. 114. The

  second step in the infringement analysis is to compare the accused product with the properly

  construed claims. Markman, 52 F.3d at 976. See generally 35 U.S.C. § 271. To infringe a method

  claim, all steps of the claimed method must be performed. See Lucent Techs., Inc. v. Gateway,

  Inc., 580 F.3d 1301, 1317 (Fed. Cir. 2009).

         “Whoever actively induces infringement of a patent shall be liable as an infringer.” 35

  U.S.C. § 271(b). To prove inducement of infringement, the patentee must []show that the accused

  inducer took an affirmative act to encourage infringement with the knowledge that the induced

  acts constitute patent infringement. Power Integrations, Inc. v. Fairchild Semiconductor Int’l, Inc.,

  843 F.3d 1315, 1332 (Fed. Cir. 2016). This requires showing (1) a third party directly infringed

  the asserted patents; (2) the defendant induced those infringing acts; and (3) the defendant knew

  the acts it induced constituted infringement. Id.

         “Whoever offers to sell or sells within the United States or imports into the United States

  a component of a patented machine . . . constituting a material part of the invention, knowing the

                                                      2
Case 1:17-cv-01194-JDW Document 316-3 Filed 02/18/22 Page 4 of 21 PageID #: 13436




  same to be especially made or especially adapted for use in an infringement of such patent, and

  not a staple article or commodity of commerce suitable for substantial noninfringing use, shall be

  liable as a contributory infringer.” 35 U.S.C. § 271(c). This requires a showing “1) that there is

  direct infringement, 2) that the accused infringer had knowledge of the patent, 3) that the

  component has no substantial noninfringing uses, and 4) that the component is a material part of

  the invention.” Fujitsu Ltd. v. Netgear Inc., 620 F.3d 1321, 1326 (Fed. Cir. 2010).

         Infringement may be shown through direct evidence as well as circumstantial evidence.

  See Lucent Techs., Inc. v. Gateway, Inc., 580 F.3d 1301, 1317 (Fed. Cir. 2009); Moleculon Res.

  Corp. v. CBS, Inc., 793 F.2d 1261, 1272 (Fed. Cir. 1986) (“It is hornbook law that direct evidence

  of a fact is not necessary.”). “Circumstantial evidence is not only sufficient, but may also be more

  certain, satisfying and persuasive than direct evidence.” Moleculon, 793 F.2d at 1272 (quoting

  Michalic v. Cleveland Tankers, Inc., 364 U.S. 325, 330 (1960)); Chiuminatta Concrete Concepts,

  Inc. v. Cardinal Indus., Inc., 1 F. App’x 879, 884–85 (Fed. Cir. 2001); see also Mickowski v. Visi-

  Trak Corp., 36 F. Supp. 2d 171, 182, (S.D. N.Y. 1999), aff'd, 230 F.3d 1379 (Fed. Cir. 2000)

  (“Although proof that a defendant has actively induced infringement requires proof that another

  has directly infringed the patent in suit, such direct infringement may be established by

  circumstantial evidence of extensive sales by defendant of a product capable of use to practice the

  patented method and distribution by defendant of an instruction manual teaching the patented

  method.”); Riverbed Tech., Inc. v. Silver Peak Sys., Inc., No. CV 11-484- RGA, 2014 WL

  4695765, at *7 (D. Del. Sept. 12, 2014) (Stark, J.).




                                                   3
Case 1:17-cv-01194-JDW Document 316-3 Filed 02/18/22 Page 5 of 21 PageID #: 13437




     B.        Willful Infringement

          i. Issues of Law

          3.      Whether Aptiv has willfully infringed the ’243 Patent, including Claims 2, 6,

  10, 16–17, and/or 22–25.

          4.      Whether Aptiv has willfully infringed the ’708 Patent, including Claim 6.

          ii. Relevant Authority

          The Supreme Court has held that “subjective willfulness of a patent infringer, intentional

  or knowing, may warrant enhanced damages, without regard to whether his infringement was

  objectively reckless.” Halo Electronics, Inc. v. Pulse Electronics, Inc., 136 S.Ct. 1923, 1933

  (2016). “Knowledge of the patent alleged to be willfully infringed continues to be a prerequisite ”

  to a finding of willfulness. WBIP, LLC v. Kohler Co., 829 F.3d 1317, 1341 (Fed. Cir. 2016).

  “Willfulness requires a jury to find no more than deliberate or intentional infringement.” Eko

  Brands, LLC v. Adrian Rivera Maynez Enterprises, Inc., 946 F.3d 1367, 1378 (Fed. Cir. 2020).

  “[C]ulpability is generally measured against the knowledge of the actor at the time of the

  challenged conduct.” Halo, 136 S.Ct. at 1933.

          “Proof of an objectively reasonable litigation-inspired defense to infringement is no longer

  a defense to willful infringement.” WBIP, 829 F.3d at 1341. Willful infringement is a fact question

  that a plaintiff must prove by the “preponderance of the evidence.” Halo, 136 S.Ct. at 1934. The

  Federal Circuit opined that “[w]e do not interpret Halo as changing the established law that the

  factual components of the willfulness question should be resolved by the jury.” WBIP, 829 F.3d at

  1341. “Willfulness of behavior is a classical jury question of intent,” Richardson v. Suzuki Motor

  Co., 868 F.2d 1226, 1250 (Fed. Cir. 1989), that “[b]y its nature . . . hinges both on the fact finder’s

  assessments of the credibility of witnesses and on the fact finder drawing inferences from the

                                                    4
Case 1:17-cv-01194-JDW Document 316-3 Filed 02/18/22 Page 6 of 21 PageID #: 13438




  evidence presented to it.” LG Elecs. U.S.A., Inc. v. Whirlpool Corp., 798 F. Supp. 2d 541, 557 (D.

  Del. 2011). As such, the “intent-implicating question willfulness” is “peculiarly within the

  province of the fact finder.” Liquid Dynamics Corp. v. Vaughan Co., 449 F.3d 1209, 1225 (Fed.

  Cir. 2006).

     C.         Validity

          i. Prior Art

                a.      Issues of Law

          5.         Whether Aptiv can prove that references asserted by Aptiv are prior art to the

  ’243 Patent and the ’708 Patent.

                b.      Relevant Authority

          Whether something is “in public use or on sale” within the meaning of section 102(b), and

  thus properly considered prior art, is a question of law with subsidiary issues of fact. Manville

  Sales Corp. v. Paramount Sys., Inc., 917 F.2d 544, 549 (Fed. Cir. 1990). To be considered prior

  art (whether the references is asserted as anticipatory art under § 102 or obviousness art under

  § 103), a reference must have been sufficiently accessible to the public interested in the art before

  the critical date. In re Omeprazole Patent Litig. v. Apotex Corp., 536 F.3d 1361, 1381 (Fed. Cir.

  2008). “For prior art to anticipate because it is ‘known,’ the knowledge must be publicly

  accessible.” Minnesota Min. & Mfg. Co. v. Chemque, Inc., 303 F.3d 1294, 1306 (Fed. Cir. 2002).

  Likewise, “[f]or purposes of anticipation, a use must be accessible to the public.” Id. “Although

  ‘public use’ for purposes of § 102(b) is defined differently from ‘use’ for purposes of § 102(a),

  both require actual use by someone at some point.” Id. at 1307. A document “may be deemed a

  printed publication upon a satisfactory showing that it has been disseminated or otherwise made

  available to the extent that persons interested and of ordinary skill in the subject matter or art,

                                                    5
Case 1:17-cv-01194-JDW Document 316-3 Filed 02/18/22 Page 7 of 21 PageID #: 13439




  exercising reasonable diligence can locate it and recognize and comprehend therefrom the

  essentials of the claimed invention without need of further research or experimentation.”

  Massachusetts Inst. of Tech. v. AB Fortia, 774 F.2d 1104, 1109 (Fed. Cir. 1985) (quoting In re

  Wyer, 655 F.2d 221, 226 (CCPA 1981). “The proponent of the publication bar must show that

  prior to the critical date the reference was sufficiently accessible, at least to the public interested

  in the art, so that such a one by examining the reference could make the claimed invention without

  further research or experimentation.” In re Hall, 781 F.2d 897, 899 (Fed. Cir. 1986).

         ii. Anticipation

              a.      Issues of Law

         6.        Whether Aptiv can prove by clear and convincing evidence that any asserted

  claim of the ’243 Patent or the ’708 Patent is invalid as anticipated by the prior art.

              b.      Relevant Authority

         The patents-in-suit are presumed valid. 35 U.S.C. § 282(a). To overcome that presumption

  of validity, a party challenging a patent must prove facts supporting a determination of invalidity

  by “clear and convincing evidence.” Microsoft Corp. v. i4i Ltd. P’ship, 131 S. Ct. 2238, 2242

  (2011). “Clear and convincing evidence has been described as evidence which proves in the mind

  of the trier of fact ‘an abiding conviction that the truth of [the] factual contentions are [sic] highly

  probable.’” Intel Corp. v. U.S. Int’l Trade Comm’n, 946 F.2d 821, 830 (Fed. Cir. 1991) (alterations

  in original) (quoting Colorado v. New Mexico, 467 U.S. 310, 316 (1984)). Further, “[e]ach claim

  of a patent (whether in independent, dependent, or multiple dependent form) shall be presumed

  valid independently of the validity of other claims; dependent or multiple dependent claims shall

  be presumed valid even though dependent upon an invalid claim.” 35 U.S.C. § 282(a).



                                                     6
Case 1:17-cv-01194-JDW Document 316-3 Filed 02/18/22 Page 8 of 21 PageID #: 13440




         Under § 102, a patent can be invalid if it was invented by another before the patentee. 35

  U.S.C. § 102. Invalidity for anticipation “requires that the four corners of a single, prior art

  document describe every element of the claimed invention, either expressly or inherently, such

  that a person of ordinary skill in the art could practice the invention without undue

  experimentation.” Advanced Display Sys. Inc. v. Kent State Univ., 212 F.3d 1272, 1282 (Fed. Cir.

  2000) (citations omitted). Anticipation requires that the reference must disclose the invention

  “without any need for picking, choosing, and combining various disclosures not directly

  related to each other by the teachings of the cited reference.” In re Arkley, 455 F.2d 586, 587-88

  (C.C.P.A 1972) (“Such picking and choosing may be entirely proper in the making of a 103,

  obviousness rejection, where the applicant must be afforded an opportunity to rebut with objective

  evidence any inference of obviousness which may arise from the similarity of the subject matter

  which he claims to the prior art, but it has no place in the making of a 102, anticipation rejection.”).

          iii. Obviousness

              a.      Issues of Law

         7.        Whether Aptiv can prove that any asserted claim of the ’243 Patent or ’708

  Patent is invalid as obvious in view of the prior art.

              b.      Relevant Authority

         Section 103 of Title 35 of the United States Code provides, in relevant part, that:

         A patent may not be obtained though the invention is not identically disclosed or
         described as set forth in section 102 of this title, if the differences between the
         subject matter sought to be patented and the prior art are such that the subject matter
         as a whole would have been obvious at the time the invention was made to a person
         having ordinary skill in the art to which said subject matter pertains. Patentability
         shall not be negatived by the manner in which the invention was made.




                                                     7
Case 1:17-cv-01194-JDW Document 316-3 Filed 02/18/22 Page 9 of 21 PageID #: 13441




  35 U.S.C. § 103(a); see also Wyers v. Master Lock Co., 616 F.3d 1231, 1237 (Fed. Cir. 2010),

  cert. denied, 131 S. Ct. 1531 (2011).


         Under § 103, the scope and content of the prior art are to be determined; differences
         between the prior art and the claims at issue are to be ascertained; and the level of
         ordinary skill in the pertinent art resolved. Against this background, the
         obviousness or nonobviousness of the subject matter is determined. Such secondary
         considerations as commercial success, long felt but unsolved needs, failure of
         others, etc., might be utilized to give light to the circumstances surrounding the
         origin of the subject matter sought to be patented.

  KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 406, 127 S. Ct. 1727, 1734 (2007) (quoting Graham

  v. John Deere Co. of Kansas City, 383 U.S. 1, 17-18 (1966)). Before finding a patent claim as

  invalid for obviousness, a court must consider all of these factors. Ruiz v. A.B. Chance Co., 234

  F.3d 654, 663 (Fed. Cir. 2000).

         “[A] patent composed of several elements is not proved obvious merely by demonstrating

  that each element was, independently, known in the prior art.” KSR Int’l, 550 U.S. at 418.

  “[I]nventions in most, if not all, instances rely upon building blocks long since uncovered, and

  claimed discoveries almost of necessity will be combinations of what, in some sense, is already

  known.” Id. at 418–19. Where a challenger seeks to invalidate a patent based on obviousness, it

  must demonstrate “by clear and convincing evidence” that a “skilled artisan would have had reason

  to combine the teaching of the prior art references to achieve the claimed invention, and that the

  skilled artisan would have had a reasonable expectation of success from doing so.” In re

  Cyclobenzapine Hydrochloride Extended Release Capsule Patent Litig., 676 F.3d 1063, 1068–69

  (Fed. Cir. 2012) (citing Proctor & Gamble Co. v. Teva Pharm. USA, Inc., 566 F.3d 989, 994 (Fed.

  Cir. 2009)); PharmaStem Therapeutics, Inc. v. ViaCell, Inc., 491 F.3d 1342, 1360 (Fed. Cir. 2007).

         The obviousness analysis takes place at the time of the invention, and focuses on evidence

  existing before the time of the invention. See KSR Int’l, 550 U.S. at 420. The use of hindsight is
                                                  8
Case 1:17-cv-01194-JDW Document 316-3 Filed 02/18/22 Page 10 of 21 PageID #: 13442




  prohibited in the obviousness analysis. Id. at 421 (“A factfinder should be aware, of course, of the

  distortion caused by hindsight bias and must be cautious of arguments reliant upon x post

  reasoning.”); accord Innogenetics, N. V. v. Abbott Labs., 512 F.3d 1363, 1374 n.3 (Fed. Cir. 2008)

  (hindsight should not be relied upon to post-hoc create a reason for combining references when

  such reason would not have been known before the claimed invention); Yamanouchi Pharm. Co.,

  Ltd. v. Danbury Pharmacal, Inc., 231 F.3d 1339, 1343 (Fed. Cir. 2000) (using “the claimed

  invention itself as a blueprint for piecing together elements in the prior art to defeat the

  patentability of the claimed invention” is impermissible hindsight reasoning) (citation omitted).

         An obviousness determination is made “from the viewpoint of a person of ordinary skill

  [not the inventor] in the field of the invention.” Arkie Lures, Inc. v. Gene Larew Tackle, Inc., 119

  F.3d 953, 956 (Fed. Cir. 1997). The obviousness analysis must avoid using the teachings of the

  patent-in-suit because “[t]he invention must be viewed not with the blueprint drawn by the

  inventor, but in the state of the art that existed at the time.” Interconnect Planning Corp. v. Feil,

  774 F.2d 1132, 1138 (Fed. Cir. 1985). Therefore, “[i]t is critical that the question of obviousness

  not be viewed in the light of the accomplished result.” BOC Health Care, Inc. v. Nellcor Inc., 892

  F. Supp. 598, 603 (D. Del. 1995) (internal quotation marks and citation omitted). Evidence must

  be provided that a “skilled artisan, confronted with the same problems as the inventor and with no

  knowledge of the claimed invention, would select the elements from the cited prior art references

  for combination in the manner claimed.” In re Rouffet, 149 F.3d 1350, 1357 (Fed. Cir. 1998).

         iv. Estoppel Pursuant to 35 U.S.C. § 315(e)(2)

              a. Issues of Law

         8.      Whether Aptiv is estopped from asserting invalidity on grounds based on

  referenced raised by Aptiv in the IPR.

                                                   9
Case 1:17-cv-01194-JDW Document 316-3 Filed 02/18/22 Page 11 of 21 PageID #: 13443




         9.         Whether Aptiv is estopped from asserting invalidity on grounds based on

  references of which Defendant was aware at the time of the IPR but chose not to raise in the

  IPR.

         10.        Whether Aptiv is estopped from asserting invalidity on grounds based on

  estopped references masked as grounds based on products.

         11.        Whether Aptiv is estopped from asserting invalidity on grounds based on

  references Defendant could have discovered, if it had conducted a diligent search.

               b.      Relevant Authority

         Section 315(e)(2) of Title 35 of the United States Code provides:

         The petitioner in an inter partes review of a claim in a patent under this chapter that
         results in a final written decision under section 318(a), or the real party in interest
         or privy of the petitioner, may not assert either in a civil action arising in whole or
         in part under section 1338 of title 28 . . . that the claim is invalid on any ground that
         the petitioner raised or reasonably could have raised during that inter partes review.

  Estoppel under § 315(e)(2) is a question of law to be decided by the judge. Parallel Networks

  Licensing LLC v. Int’l Bus. Machs. Corp., C.A. 132072-KAJ, 2017 WL 1045912, at *10 n.13 (D. Del.

  Feb. 22, 2017).

         Patents are presumed valid. 35 U.S.C. § 282. Defendant has the burden to prove invalidity

  by clear and convincing evidence, including subsidiary issues such as priority date of the patent,

  sufficiency of the patent disclosure, proving the publication date of prior art, and whether IPR

  estoppel (35 U.S.C. § 315(e)(2)) applies to grounds Defendant attempts to raise in district court.

  See, e.g., Tech. Licensing Corp. v. Videotek, Inc., 545 F.3d 1316, 1327 (Fed. Cir. 2008) (“Neither

  [Plaintiff’s] burden to prove infringement nor [Defendant’s] burden to prove invalidity, both

  ultimate burdens of persuasion, ever shifts to the other party—the risk of decisional uncertainty

  stays on the proponent of the proposition.”); Ralston Purina Co. v. Far-Mar-Co, Inc., 772 F.2d

                                                    10
Case 1:17-cv-01194-JDW Document 316-3 Filed 02/18/22 Page 12 of 21 PageID #: 13444




  1570, 1573–74 (Fed. Cir. 1985) (holding defendant bears burden of proving insufficiency of

  written description); Intellectual Sci. & Tech., Inc. v. Sony Elecs., Inc., No. 06-10406, 2008 WL

  5068823, at *31 (E.D. Mich. Nov. 24, 2008), aff’d, 589 F.3d 1179 (Fed. Cir. 2009) (holding

  defendant bears burden of proving publication date of prior art).

         Every district court case to address the scope of estoppel after the Supreme Court’s SAS

  decision has found “non-petitioned” references are estopped. Defendants cannot avoid estoppel by

  merely adding a physical product as one component of an obviousness combination “where all of the

  relevant features of that physical product had been disclosed in a patent” that was raised during the

  IPR. Wasica Finance GmbH v. Schrader Int’l, C.A. 13-1353-LPS, 2020 U.S. Dist. LEXIS 9699, at *5–

  6 (D. Del. Jan. 14, 2020)., C.A. 19-00410-EMC, 2019 WL 7589209, at *6 (N.D. Cal. Dec. 30,

  2019); D.I. 192 at 12– 14 (collecting cases). As recognized by those courts, interpreting estoppel

  to exclude “non-petitioned” references after the Supreme Court’s clarification of 35 U.S.C. §

  318(a), would render the phrase “reasonably could have raised” superfluous. See, e.g., SiOnyx,

  LLC v. Hamamatsu Photonics K.K., 330 F. Supp. 3d 574, 602 (D. Mass. 2018) (“After SAS, . . .

  for the words ‘reasonably could have raised’ to have any meaning at all, they must refer to grounds

  that were not actually in the IPR petition . . . .”); accord Asetek, 2019 WL 7589209, at *7 (collecting

  cases). Further, a defendant cannot avoid estoppel by merely adding a physical product as one

  component of an obviousness combination “where all of the relevant features of that physical

  product had been disclosed in a patent” that was raised during the IPR. Wasica Finance GmbH v.

  Schrader Int’l, C.A. 13-1353-LPS, 2020 U.S. Dist. LEXIS 9699, at *5–6 (D. Del. Jan. 14, 2020).




                                                    11
Case 1:17-cv-01194-JDW Document 316-3 Filed 02/18/22 Page 13 of 21 PageID #: 13445




         v. Enablement and Written Description

               a.      Issues of Law

         12.        Whether Aptiv can show by clear and convincing evidence that claims 2, 6, 10,

  16–17, and/or 22–25 of the ’243 Patent are invalid under 35 U.S.C. § 112 for lack of

  enablement.

         13.        Whether Aptiv can show by clear and convincing evidence that claims 2, 6, 10,

  16–17, and/or 22–25 of the ’243 Patent are invalid under 35 U.S.C. § 112 for lack of written

  description.

         14.        Whether Aptiv can show by clear and convincing evidence that claim 6 of the

  ’708 Patent is invalid under 35 U.S.C. § 112 for lack of enablement.

         15.        Whether Aptiv can show by clear and convincing evidence that claim 6 of the

  ’708 Patent is invalid under 35 U.S.C. § 112 for lack of written description.

               b.      Relevant Authority

         A patent is presumed valid under 35 U.S.C. § 282. Spectrum Pharm., Inc. v. Sandoz Inc.,

  802 F.3d 1326, 1333 (Fed. Cir. 2015). To obtain summary judgment on invalidity, the movant

  must overcome the presumption of validity with clear and convincing evidence. Id. Thus, “a party

  asserting affirmative defenses against a patent ‘must submit clear and convincing evidence of facts

  underlying invalidity that no reasonable jury could find otherwise.’” Id. Written description and

  enablement focus on the scope of the claims as construed. Energy Transp. Group, Inc. v. William

  Demant Holding A/S, 697 F.3d 1342, 1350 (Fed. Cir. 2012) (written description); see MagSil Corp.

  v. Hitachi Glob. Storage Techs., Inc., 687 F.3d 1377, 1380–81 (Fed. Cir. 2012) (enablement).

         “[T]he test for sufficiency” of a patent’s written description “is whether the disclosure of

  the application relied upon reasonably conveys to those skilled in the art that the inventor had

                                                  12
Case 1:17-cv-01194-JDW Document 316-3 Filed 02/18/22 Page 14 of 21 PageID #: 13446




  possession of the claimed subject matter as of the filing date.” Ariad Pharm., Inc. v. Eli Lilly &

  Co., 598 F.3d 1336, 1351 (Fed. Cir. 2010) (en banc). “[T]he test requires an objective inquiry into

  the four corners of the specification from the perspective of a person of ordinary skill in the art.

  Based on that inquiry, the specification must describe an invention understandable to that skilled

  artisan and show that the inventor actually invented the invention claimed.” Id. The issue of

  whether a claimed invention satisfies the written description requirement is a question of fact. Id.

         Enablement is a question of law based on underlying factual inquiries. Cephalon, Inc. v.

  Watson Pharm., Inc., 707 F.3d 1330, 1336 (Fed. Cir. 2013). To satisfy the enablement requirement

  of 35 U.S.C. § 112(a), the specification must enable a person of ordinary skill in the art to make

  and use the invention. 35 U.S.C. § 112(a). “This requirement is met when at the time of filing the

  application one skilled in the art, having read the specification, could practice the invention without

  ‘undue experimentation.’” Cephalon, 707 F.3d at 1336 (quoting In re Wands, 858 F.2d 731, 736–

  37 (Fed. Cir. 1988)). “Whether undue experimentation is required ‘is not a single, simple factual

  determination, but rather is a conclusion reached by weighing many factual considerations.’”

  Cephalon, 707 F.3d at 1336 (quoting ALZA Corp. v. Andrx Pharms., LLC, 603 F.3d 935, 940 (Fed.

  Cir. 2010)). “The question of undue experimentation is a matter of degree, and what is required

  is that the amount of experimentation not be ‘unduly extensive.’” Cephalon, 707 F.3d at 1338

  (citation omitted).   The focus “is not merely quantitative, since a considerable amount of

  experimentation is permissible, if it is merely routine, or if the specification in question provides

  a reasonable amount of guidance.” Id. at 1339 (citations and quotations omitted).




                                                    13
Case 1:17-cv-01194-JDW Document 316-3 Filed 02/18/22 Page 15 of 21 PageID #: 13447




     D.         Damages

          i. Issues of Law

          16.     Whether Microchip is entitled to reasonable royalty and/or lost profits damages

  under 35 U.S.C. § 284 and the amount of those damages.

          17.     Whether Microchip is entitled to enhanced damages under 35 U.S.C. § 284.

          18.     Whether Microchip is entitled to a royalty or damages for Aptiv’s ongoing

  infringement. 35 U.S.C. § 284.

          19.     Whether Microchip is entitled to attorneys’ and costs fees pursuant to 35 U.S.C.

  § 285 or other applicable law.

          20.     Whether Microchip is entitled to an award of pre-judgment interest, post-

  judgment interest, costs, and disbursements as justified under 35 U.S.C. § 284 and/or Federal

  Rule of Civil Procedure, Rule 54 or other applicable law.

          21.     Whether Microchip is entitled to an ongoing royalty or other damages or an

  accounting in relation to ongoing infringement, to the extent an injunction has not been issued.

          ii. Relevant Authority

          Upon a finding of infringement, the patentee shall be awarded “damages adequate to

  compensate for the infringement, but in no event less than a reasonable royalty for the use made

  of the invention by the infringer, together with interest and costs as fixed by the court.” 35 U.S.C.

  § 284. “[T]he amount of a prevailing party’s damages is a finding of fact on which the plaintiff

  bears the burden of proof by a preponderance of the evidence.” Smithkline Diagnostics, Inc. v.

  Helena Labs. Corp., 926 F.2d 1161, 1164 (Fed. Cir. 1991).

          The Panduit test establishes the basic, traditional framework for analyzing lost profits:

          To obtain as damages the profits on sales he would have made absent the
          infringement, i. e., the sales made by the infringer, a patent owner must prove: (1)
                                                   14
Case 1:17-cv-01194-JDW Document 316-3 Filed 02/18/22 Page 16 of 21 PageID #: 13448




         demand for the patented product, (2) absence of acceptable noninfringing
         substitutes, (3) his manufacturing and marketing capability to exploit the demand,
         and (4) the amount of the profit he would have made.

  Panduit Corp. v. Stahlin Bros. Fibre Works, Inc., 575 F.2d 1152, 1156 (6th Cir. 1978). When there

  are multiple competitors in a market, a patentee is entitled to lost profits based on the infringing

  sales apportioned according to its “share of the market.” State Indus., Inc. v. Mor-Flo Indus., Inc.,

  883 F. 2d 1573, 1578-80 (Fed. Cir. 1989).

         “The statute is unequivocal that the district court must award damages in an amount no less

  than a reasonable royalty.” Dow Chem. Co. v. Mee Indus., Inc., 341 F.3d at 1381-82 (Fed. Cir.

  2003); see also Del Mar Avionics, Inc. v. Quinton Instrument Co., 836 F.2d 1320, 1327 (Fed. Cir.

  1987) (“The requirement to determine actual damages is not diminished by difficulty of

  determination.”). The reasonable royalty may be based on the “supposed result of hypothetical

  negotiations between the plaintiff and defendant.” Transocean Offshore Deepwater Drilling, Inc.

  v. Maersk Drilling USA, Inc., 699 F.3d 1340, 1357 (Fed. Cir. 2012). “While the Federal Circuit

  has not prescribed a specific methodology for calculating a reasonable royalty, courts rely upon

  the fifteen factors set forth in Georgia–Pacific Corp. v. United States Plywood Corp., 318 F. Supp.

  1116, 1120 (S.D.N.Y.1970).” St. Clair Intellectual Prop. Consultants, Inc. v. Canon, Inc., CIV.A.

  03-241 JJF, 2004 WL 2213562 (D. Del. Sept. 28, 2004). “[I]n conducting the hypothetical

  negotiation, the Court is permitted to look to events and facts that occurred after the infringement

  began.” Mobil Oil Corp. v. Amoco Chemicals Corp., 915 F. Supp. 1333, 1353 (D. Del. 1994).

         Even if evidence presented at trial falls short of supporting a party’s specific royalty

  estimate, “the fact finder is still required to determine what royalty is supported by the record.”

  Apple Inc. v. Motorola, Inc., 757 F.3d 1286, 1327-28 (Fed. Cir. 2014) (citing cases). “[T]he factual

  determination of a reasonable royalty, however, need not be supported, and indeed, frequently is

                                                   15
Case 1:17-cv-01194-JDW Document 316-3 Filed 02/18/22 Page 17 of 21 PageID #: 13449




  not supported by the specific figures advanced by either party. . . . [T]he district court may reject

  the extreme figures proffered by the litigants as incredible and substitute an intermediate figure as

  a matter of its judgment from all of the evidence.” SmithKline Diagnostics, 926 F.2d at 1167-68.

         Reasonable royalty damages are not limited to specific instances where direct infringement

  has been shown and can be proven by circumstantial evidence. Lucent Techs., Inc. v. Gateway,

  Inc., 580 F.3d 1301, 1334–35 (Fed. Cir. 2009) (“On the other hand, we have never laid down any

  rigid requirement that damages in all circumstances be limited to specific instances of infringement

  proven with direct evidence. Such a strict requirement could create a hypothetical negotiation far-

  removed from what parties regularly do during real-world licensing negotiations.”); see also

  GlaxoSmithKline LLC v. Glenmark Pharm. Inc., No. CV 14-877-LPS-CJB, 2017 WL 8948975,

  at *12 (D. Del. May 30, 2017), report and recommendation adopted, No. CV 14-877-LPS-CJB,

  2017 WL 2536468 (D. Del. June 9, 2017); Sentius Int'l, LLC v. Microsoft Corp., No. 5:13-CV-

  00825-PSG, 2015 WL 451950, at *11 (N.D. Cal. Jan. 27, 2015).

         A patentee should also be entitled to an accounting of damages for post-verdict sales of

  products found to infringe the patents-in-suit. In patent cases, post-verdict accounting is standard

  practice. See Mikohn Gaming Corp. v. Acres Gaming, Inc., 2001 U.S. Dist. LEXIS 23416, *52-

  65 (D. Nev. Aug. 1, 2001) (describing numerous instances of accountings in patent cases); see

  also, e.g., Edwards Lifesciences AG v. CoreValve, Inc., No. 08–91–GMS, 2011 WL 446203, at

  *16 (D. Del. Feb. 7, 2011), aff’d in part, remanded in part, 699 F.3d 1305 (Fed. Cir. 2012) (“The

  court will grant . . . an accounting of the number of [infringing] devices made, used, sold ... through

  the date of the order accompanying this memorandum.”). Courts in this District have permitted

  additional discovery to properly complete a post-trial accounting of damages. TruePosition Inc. v.



                                                    16
Case 1:17-cv-01194-JDW Document 316-3 Filed 02/18/22 Page 18 of 21 PageID #: 13450




  Andrew Corp., No. Civ. 05–747–SLR, 2009 WL 1651042, at *1 n. 2 (D. Del. June 10, 2009), aff’d,

  389 Fed. Appx. 1000 (Fed. Cir. 2010).

          Section 284 provides for enhanced “damages up to three times the amount found or

  assessed.” 35 U.S.C. § 284. “District courts enjoy discretion in deciding whether to award

  enhanced damages, and in what amount.” Halo, 136 S.Ct. at 1932. In determining whether to

  award enhanced damages, a Court should consider “egregiousness of the defendant’s conduct

  based on all the facts and circumstances.” Read Corp. v. Portec Inc., 970 F.2d 816, 826-27 (Fed.

  Cir. 1992), abrogated in part on other grounds by Markman v. Westview Instruments, Inc., 52 F.3d

  967, 975 (Fed. Cir. 1995). Despite that there is no “rigid formula for awarding enhance damages

  under § 284,” Halo, 136 S. Ct. at 1934, the factors courts consider when determining whether an

  infringer’s behavior was egregious include “(1) whether the infringer deliberately copied the

  invention; (2) whether the infringer, when aware of the patent, investigated and formed a good

  faith belief of invalidity or noninfringement; (3) the infringer’s behavior as a party to litigation;

  (4) defendant’s size and financial condition; (5) closeness of the case; (6) duration of defendant’s

  misconduct; (7) remedial action by the defendant; (8) defendant’s motivation for harm; and (9)

  whether defendant attempted to conceal its misconduct.” Boston Scientific Corp. v. Cordis Corp.,

  838 F. Supp. 2d 259, 278 (D. Del. 2012) (citing Read, 970 F.2d at 826-828), aff’d, 497 F. App’x

  69 (Fed. Cir. 2013). The plaintiff must prove enhanced damages by a “preponderance of the

  evidence.” Halo, 136 S.Ct. at 1934.

     E.         Permanent Injunction

          i. Issues of Law

          22.      Whether Microchip is entitled to a permanent injunction. 35 U.S.C. § 283.



                                                   17
Case 1:17-cv-01194-JDW Document 316-3 Filed 02/18/22 Page 19 of 21 PageID #: 13451




          ii. Relevant Authority

          To obtain a permanent injunction, a plaintiff that has proven infringement must show “(1)

  irreparable injury in the absence of an injunction, (2) inadequacy of compensatory remedies at law,

  (3) a balance of hardships favoring an injunction, and (4) consistency of an injunction with the

  public interest.” Texas Advanced Optoelectronic Solutions, Inc. v. Renesas Electronics America,

  Inc., 895 F.3d 1304, 1331 (Fed. Cir. 2018) (citing eBay Inc. v. MercExchange, L.L.C., 547 U.S.

  388, 391 (2006)). It is not necessary that a patentee be able to prove specific past damages in order

  to be entitled to an injunction preventing future harm. See, e.g., Liqwd, Inc. v. L’Oreal USA, Inc.,

  720 F. Appx. 623 (Fed. Cir. 2018) (remanding denial of injunction because the relevant inquiry is

  whether the requirements were met at the time of the injunction).

     F.         Attorneys’ Fees and Costs

          i. Issues of Law

          23.      Whether Microchip, if it is the prevailing party, has proven that it is entitled to

  attorneys’ fees and/or costs, and the amount. 35 U.S.C. § 285.

          ii. Relevant Authority

          Section 285 of Title 35 of the United States Code provides for the awarding of “reasonable

  attorney fees to the prevailing party” when the case is determined to be exceptional. To be a

  “prevailing party,” a party “must win a dispute within the case in favor of it that materially alters

  the legal relationship between the parties at the time of the judgment.” Parallel Iron LLC v.

  NetApp Inc., No. CV 12-769-RGA, 2014 WL 4540209, at *3 (D. Del. Sept. 12, 2014). In

  Octane Fitness, LLC v. ICON Health & Fitness, Inc., 134 S. Ct. 1749, 1756 (2014), the Supreme

  Court held that “[a]n ‘exceptional’ case, then, is simply one that stands out from others with respect

  to the substantive strength of a party’s litigating position (considering both the governing law and

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Case 1:17-cv-01194-JDW Document 316-3 Filed 02/18/22 Page 20 of 21 PageID #: 13452




  the facts of the case or the unreasonable manner in which the case was litigated.)” The Supreme

  Court added: “District courts may determine whether a case is ‘exceptional’ in the case-by-case

  exercise of their discretion.” Id.; see also id. (“As in the comparable context of the Copyright Act,

  ‘[t]here is no precise rule or formula for making these determinations,’ but instead equitable

  discretion should be exercised in light of the considerations we have identified.”). Further, the

  prevailing party must prove entitlement to attorney fees under § 285 by a preponderance of the

  evidence. Id. at 1758; see also Chalumeau Power Sys. LLC v. Alcatel-Lucent, No. CV 11-1175-

  RGA, 2014 WL 4675002, at *2 (D. Del. Sept. 12, 2014). In the Third Circuit, the same test

  under Octane Fitness is used to determine exceptional cases in trademark cases as in patent cases.

  See Fair Wind Sailing, Inc. v. Dempster, 764 F.3d 303, 315 (3d Cir. 2014) (“We believe that the

  [Supreme] Court [in Octane] was sending a clear message that it was defining “exceptional” not

  just for the fee provision in the Patent Act, but for the fee provision in the Lanham Act as well.”).

         Federal Rule of Civil Procedure 54 states “[u]nless a federal statute, these rules, or a court

  order provides otherwise, costs—other than attorney’s fees—should be allowed to the prevailing

  party.” The Supreme Court has explained that “prejudgment interest should ordinarily be awarded

  where necessary to afford the plaintiff full compensation for the infringement.” Gen. Motors Corp.

  v. Devex Corp., 461 U.S. 648, 654 (1983). Prejudgment interest is not a penalty but “serves to

  make the patent owner whole, for damages properly include the foregone use of money of which

  the patentee was wrongly deprived.” Sensonics, Inc. v. Aerosonic Corp., 81 F.3d 1566, 1574 (Fed.

  Cir. 1996). Accordingly, awarding “prejudgment interest is the rule, not the exception.” Id.

  “[P]rejudgment interest should be awarded from the date of infringement to the date of judgment.”

  Nickson Indus., Inc. v. ROL Mfg. Co., Ltd., 847 F.2d 795, 800 (Fed. Cir. 1988) (citing Gen. Motors,



                                                   19
Case 1:17-cv-01194-JDW Document 316-3 Filed 02/18/22 Page 21 of 21 PageID #: 13453




  461 U.S. at 656). Section 1961(a) of Title 28 of the United States Code states that “[i]nterest shall

  be allowed on any money judgment in a civil case recovered in a district court.”

         “Postjudgment interest is awarded on monetary judgments recovered in all civil cases,”

  including ones for patent infringement. Transmatic, Inc. v. Gulton Indus., Inc., 180 F.3d 1343,

  1347 (Fed. Cir. 1999). Post-judgment interest is governed by regional circuit law. Id. at 1348.

  Interest begins to accrue on the date of the entry of judgment. Loughman v. Consol-Pennsylvania

  Coal Co., 6 F.3d 88, 97 (3d Cir. 1993). Courts in this district routinely award post-judgment

  interest in patent infringement cases. See nCUBE Corp. v. SeaChange Int'l, Inc., 313 F. Supp. 2d

  361, 392 (D. Del. 2004), aff’d, 436 F.3d 1317 (Fed. Cir. 2006) (awarding post-judgment interest

  to patentee for defendant’s willful infringement); TruePosition Inc. v. Andrew Corp., 611 F. Supp.

  2d 400, 414 (D. Del. 2009), aff’d, 389 F. App’x 1000 (Fed. Cir. 2010) (awarding post- judgment

  interest for patent infringement).

         Pursuant to Federal Rule of Civil Procedure 54(d), costs should be allowed to the prevailing

  party. Under 28 U.S.C. § 1920, the prevailing party may recover the following costs: (1) fees of

  the clerk and marshal; (2) fees for printed or electronically recorded transcripts necessarily

  obtained for use in this case; (3) fees and disbursements for printing and witnesses; (4) fees for

  exemplification and the costs of making copies of any materials where the copies are necessarily

  obtained for use in the case; (5) docket fees under 28 U.S.C. § 1923; and (6) compensation of court

  appointed experts, compensation of interpreters, and salaries, fees, expenses, and costs of special

  interpretation services under 28 U.S.C. § 1828. See also D. Del. LR 54.1.




                                                   20
